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                      Exhibit A
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                                                                                                                                BOC MEETING DATE  # 15-0603
                    Fulton County Board of Commissioners
                    Agenda Item Summary: 15-
                                                                                                                                July 15, 2015

Board of Registration and Elections

Request approval of a Consent Order before the State Elections Board for the State of Georgia in
the matter of Fulton County Board of Registration and Elections, Respondent, SEB cases 2008-
000084, 2008-000104, 2008-000134, 2012-000056 and 2012-000156.

Requirement for Board Action (Cite specific Board policy, statute or code requirement)


Is this Item Goal Related? (If yes, describe how this action meets the specific Board Focus Area or Goal)
         Yes           X       No
                                                     (First sentence includes Agency recommendation. Provide an executive summary of the action that gives an
Summary & Background                                 overview of the relevant details for the item.)


The State Elections Board voted to change the language in two paragraphs of the originally
negotiated agreement approved by the Board of Commissioners.

The new language puts more control in the hands of the Fulton County Board of Registration and
Elections to determine how to implement the changes versus a detailed dictate from the State
Elections Board.




                                                     (Include projected cost, approved budget amount and account number, source of funds, and any future funding
Fiscal Impact / Funding Source                       requirements.)



Exhibits Attached              (Provide copies of originals, number exhibits consecutively, and label all exhibits in the upper right corner.)



Letter from Board of Registration and Elections’ counsel.


Source of Additional Information                     (Type Name, Title, Agency and Phone)




                                                    Agency Director Approval                                                                   County Manager’s
                                                                                                                                                  Approval
 Typed Name and Title                                                                             Phone



 Signature                                                                                        Date



Revised 03/12/09 (Previous versions are obsolete)

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